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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                          Criminal No. 23-310(1) (DWF/DJF)

                      Plaintiff,

 v.                                                    ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
 Mario Lazaro Santos-Hunter,

                      Defendant.


                                   INTRODUCTION

      Defendant Mario Lazaro Santos-Hunter moves to dismiss his indictment. (Doc.

No. 19.) In a Report and Recommendation (“R&R”), Magistrate Judge Dulce J. Foster

recommended denying the motion. (Doc. No. 42.) Santos-Hunter filed an objection to

the R&R. (Doc. No. 46.) After an independent review of the record and objection, the

Court adopts the Magistrate Judge’s R&R.

                                     DISCUSSION

      The Court has conducted a de novo review of the record, including a review of the

arguments and submissions of counsel, pursuant to 28 U.S.C. § 636(b)(1) and Local

Rule 72.2(b). The relevant factual and procedural background for the above-entitled

matter is clearly and precisely set forth in the Magistrate Judge’s R&R and is

incorporated by reference.

      Santos-Hunter argues that 18 U.S.C. § 922(g)(1) is unconstitutional on its face and

as applied to him in violation of the Second Amendment. The R&R correctly concluded
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that the Eighth Circuit has foreclosed this argument. In United States v. Jackson,

69 F.4th 495, 501-02 (8th Cir. 2023), the Eighth Circuit “concluded that there is no need

for felony-by-felony determinations regarding the constitutionality of § 922(g)(1) as

applied to a particular defendant. The longstanding prohibition on possession of firearms

by felons is constitutional.” United States v. Cunningham, 70 F.4th 502, 506 (8th Cir.

2023). The Court is bound by this Eighth Circuit precedent. The Court therefore adopts

the Magistrate Judge’s R&R and denies Santos-Hunter’s motion to dismiss the

indictment.

                                        ORDER

      Based upon the foregoing, and the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

      1.      Santos-Hunter’s objection (Doc. No. [46]) to Magistrate Judge Dulce J.

Foster’s January 5, 2024, Report and Recommendation is OVERRULED.

      2.      Magistrate Judge Dulce J. Foster’s January 5, 2024, Report and

Recommendation (Doc. No. [42]) is ADOPTED.

      3.      Santos-Hunter’s motion to dismiss the indictment (Doc. No. [19]) is

DENIED.


Dated: March 7, 2024                     s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




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